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                      United States Bankruptcy Court
                       Southern District of Ohio

Jose Villavicencio                                          Judge John Hoffman


                vs


 Myron Terlecky                                              Case No 2:19-bk-52861
      Trustee


        The bankruptcy filer, Jose Villavicencio, responds to the trustees motion dated

June 07, 2024. •

        I, Jose Villavicencio have not been able to afford legal representation and have made

 valiant attempts to represent my own case in this bankruptcy court. The fact that the US

 Supreme Court has denied my certiorari led me to believe that the case was closed. If this

were not the case, I would like to do as the       trustee suggested: to present pertinent facts

that were not considered in the original case filing as well as plead for the measures that I

 believe will provide relief.

         In my filing on August 28, 2023 (Appellant's Response to Brief Filed by Appellee July 26,

 2023 - see Appendix A), I indicated that in my attempt to appeal the decision of Judge

 Morrison, I have discovered that there were errors in the land contract document as drafted

 by my family attorney of 20 yrs, Michael Vasko.     This land contract is the one piece of

document or transaction that was used to invalidate the exemption of 9 other transactions

that would passed muster on their own.        Upon reviewing the document as part of my •

attempt to appeal the decision of the district court, I found out that the contract between

 Joseph Miccio and JRV Sepira LLC was dated to January 1 2017 (see Appendix B). The

 problem with this is that the LLC was non existent at that time: it was set up by Broad

 Financial almost 4 weeks later (January 26, 2017 see Appendix C). The funding actually
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 came much later - after March 3 2024, as evidenced by the email of Madison Trust asking how

 to transfer the roll over from my retirement funds with a previous employer to another

 personal retirement account (see Appendix D).

        While not an expert on legal contracts, it is nevertheless the immediate take of a

 layman such as I that because the entity was non-existent at the time of contract, that the

 contract becomes invalid. The land contract is null and void, and the basis for the

 disqualification of the exemptions is gone. The accuracy of dates is something that I know

 something about, since some real estate transactions I had in the past 20 years have fallen

 apart for much lesser errors.

        The situation is indeed ironic. The attorney who drafted the land contract between

 Miccio and JRV Sepira LLC, changing what was in essence a land contract transaction

 between Miccio and Jose Villavicencio( who has been making payments since 2012 on his

 only place of residence since 1996), not only failed to research the legal repercussions of

 such a move, but actually failed to check the dates as to when the entities came into legal

 existence. This compound double error is a corrective divine intervention to rectify an injustice

 brought about by the legalistic and pharisaic approach of trustee Terlecky.

        It was naive of me to expect the appellate courts to admit new evidence - but then I

 had no prior experience. . But in as much as my discovery came after the initial hearing

 under Judge Hoffman, I would like to get a new hearing on this piece of evidence, in the

 hope that if my argument is found to be valid, that this oversight error coming on top of a

 a financial planning error would result in allowing the exemptions to stand. In particular,

 the 9 other separate independent transactions that constituted my retirement account will be

 seen as valid exemptions, even if they had been denied by a highly restrictive

 interpretation by this court of section 2329.66(A)(1 0)(g).



 Respectfully Yours
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 Jose Villavicencio
 1664 Parsons Avenue
 Columbus OH 43207
 614 972 3126
 joevillaoh@gmail.com
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        RECEIVED
            8/28/2023
   DEBORAH S. HUNT, Clerk




               'IN THE ,UNITED STATES '.COURT OF APPEALS
                            FOR THE SIXTH CIRCUIT




                                 AppeUan't




                                      vs

                        IYIYRO~ N·. TERLECKY\.TRUSTEE

                                  Appellee.



               On Appeal from the United States District Court for
                the Southern Di$trict pf Ohio, Ca$e No. 22-cv-00918


                 APPELLANT~$'. RESPONSE IO BRIEF FILED BY'
                        APPELLEE JULY 26. 2023                •
The appellant, Jose: Villavicencio, 'responds to the br:ief fi~ed by tru$tee·t

Myron Terlecky~ dated 07/26/2023~ Clearly conscious. oftlle accusaticms b~
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On page 4 of Mr~ Terlecky's brief, h~ arg_ues that the Appellant h~d full

op.,ortunity to. present evidence, in as much as app!!!Uanf$ couns.el denied

havh1g a:1nything_ further to add or change. Had appellant himself be.en,asked

.the ~ame _qu,es.ti«m, the answ:erwpuld have be~n the same. ·The appellant ti~~

been previously dropped ~Y Mit";hael Thomp$on, the ori.ginal bankruptcy

attorney who aUeged ·that the. :~ppellant h~d ru,t ~fpHowed the game plant

After experiencing the difficulty .of finding leg~I representation,. it Is

understandable for the .-appellant tQ keep quiet and let ti-Be. attornflYS do thei&"

jo~s. It can be argued however, that it is only. in this ~e..u:rent court can this

pro se appellant bring matttrs without worrying about a legal strategy.




         B. The appellant is trying to advance a different bite of the apple..and
       .as such. is disrupting orderly trial procedure (page 8 ).



The: truste~ argues. that judgment on this case should be mainly made en the

 legalistic ·approach :to col.u1Judgmfot uphol.ding orderl~t trial procedure... No
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 new evidEmce or view should be admitted and review .should solely i:Je d9ne

on whether thebankru,ptcy andJh.e district court had been good refe't&es anti

arbiters of logic ,md. c,,rder~ The matter of a senior citizen losing his.

retirement should be castaside. Neyerthelflss, the whole $piritof bankruptcy

law. has been to give the app~Hant a wittE!.r leeway tha.n :simple pro.cedurai
integrity and mere inductive: logic would. In· p;:ige 13, he argue$ that judgment

should be t,ased on whatever view was brought a.gp bffore: the bankruptcy

court and the district court, and .that any ·unfa.vorable outcqme must .b~

addressieg i:1¥ the:. appellant going after his atb:>rneys -'for, damageJ, This Js

illogi~al, unrealisJic, goes, again$t the $pirit of the bankruptcy law, •'and is

something that only, a Pharisee in ancient times would have done. This

likewise assumes ijlat '.the ~ppeUant h~s v~s.t resourc~$. and is on even

footing With all ·other'.parties in ·the· banl<rupt,c~rca!:.e:




        B More,ways to bite 'an apple; but just do not disturb the elephant.in

        the the room.

The trustee just about rebLJts every argument forwarded by the. app.ellant ,except the

validity of the clQcur:nentfrom which originates his. argument 'of Why the exemption sflould

be stripped from this IRA. The. hand contract that lead. to What the trustee CE1lled a baqkfire

i~ not a valid' one for '.the reason brought Up by the appellant in the· origloa1 filing with .the

Sixth Circuit court. : it documents a contract between 2 entiti~ wt-er~ only <>ne exists.

This 'argument I made my-attorney· as~ed me not to bring up. But the contract ir1 all Its: fatal
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flaw was there for all to SE3f:I since itwas,admitterl as one"oftheexhibits in the bankrupt~y,

court.Tn.tstee states on pag~ 7 that ·'a party may '.n.ot by-pass the facMihding process of

the lower colJrt i:trlP ln,tr,octu_ce new facts lo its brief on appeal." But there is no new facts.

introd14ced: tt,~ land ccmtract was there· for everyone~s perusal and review, bqth by· ttie:

b~r,kruptcy paqrt anctthe <:Je novo. review bY the district court~




 Is tf:lis' fE1tal fl1:1w so.methir19 that this ;currenn:ourt :of appeals should ignore sinceitwasnt

e~pr~ssly _disS.ected for lower courts?? Every argument tnade by the trustee in front of tt:Je.

bankruptcy and t!,edistrictcourt derives legmmacy from this land· contract..But He faile,d to

cht!!pkJor the validity ofthis.contract even though he admitted t.hem. in hl.s. exhibit$,On p~ge

6, of his prief Trustee states that sa·nkruptcy court findings of fact~r:e.r,eviev.r,ed for cl~ar

errors, something, .that obviously did not happ~_n. here. rn his. l~test filing with· the

bankruptcy and district courts where he petitlone~ to start sellinEJ the p.-opertie$ 'in the

$ep~IRA even before this. Venel'?bl.e court hacJ rendered .a judgement;. he mentions. the

absence of an operating agreement- for JR\l :$epira LLC; This is clearly Jails~ and

something_ that he ov~rlool<ecJ as WE!H - copies of the .agreement were on .file even anhe

court-of Common Ple~s when _this banOJptcy case originated from.
   Does the procedures of the poµrt allow· him to bury this 'inconvenient fact?? Since none

of th~ ~ttor:neys brought it up>?· Shoul~ this ~ppellant then petition for·a mistrial instead??

This is alsq part ofthe issues that this court should consider, not jiJstwhe.ther w,e passed

the lo~.ic ;test: and· conformed to procedural integrity; It should indeed·. be the task fc;,r the

 higher court to decide Whether this trustee should be allowed to baset t,is primary.

.argument on a document which balds no-legal standing. Dqe $ p9h1ting- qlJt the. obvioO$ in
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the :exhibits constitute·.a new facitial. 'finding that must tt-e~fore.b~. stricken,> tbe failure.of

the .district court to uncover the discr~pan9y in ibl "cha. nqvo" review ·should likewise

properly .situate this case in t.hls venerable cpur;t c,f-~ppeal.




.As the trustee himself qyobas· on page 11 of ~is brief~ " the ·court will not e.onslder

af;s.ume.,,ts ,raised Jot the first time on appear unle~ our fail1,1re. b:> consider the.issue:r will

result in plain miscarriage of justi~~". Is th.h~ n9t what Js going Je:happen here if this lapse

in the· review of the land conkaptoo_ part of all attQrneys on thls•ease·: is not revisited in this
higher court??




        c ..· Interpreting the saYings ¢layse
Trustee shifts burden iof proof and ~skst appellant for cases to suppout

opposite view. This appUcatiOi'I of federal Rule ·of Bankruptcy Procedure

4003(c) in this this case solely rests on th~ l>a$is of the prohibited



 providing ·the burden of proof to the appellant? Is if au about procedural

 i111tegrity~? 1$ thi$ !iiiomething, that the, sixth circuit cot.u't can review?J r~erE!I

appe,ars to· be ~o pr,ior ca$ts applying the savings clause. here h1 Ohio, and

 so th, ne,d to decide on this ,case, other than just the basis of logi.c ~nd

 protedurat integrity acquires:adc:fed signiflcanc~.
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  lo th,e vi~w of a )Jck th&reof of precedents, thtl, trustee anchor$ bis

argum.en.t on tJ}e Bauman case from a different state. A!> mentioned in the

arguments filed by the apptllant, this (:ase is vastly different from the

appellant's: Mr Bauman repeatedly carried oLRt an_d •applied his views of his

sep-ira 011 multiple transactio_ns , whe,r~~s the appell~nl had Qne spe-cific·

point .in time .drafted with the 'help Qf a prqfes$ional w,hat n4>w se.ems to be a

fataUv flawed document' anyWay. Appellant did n_ot redraft or have the

oppo_rtunity, to que$tion the validity of the instrument·once it was record'3~-




    Jt is·fo,r thi_s coud to· de:cJde whether :the- 'the blissful ignorance; or:the
 'in•tt,l'ltion' th~t the, bankmptc:y court lays on the appellants situation is

Indeed the c~se. ~g~iJJ, the ~>eflibiJs ·and adrni$sh:ms were made and' agreed

to,by the partie$, 1 bUt the iiJterpre~tion of th.,se exhibits- is what'Appellant is

asking, this ·.eourt to decide.




       E. More on,the savings---act



Trustee claims', that the savings act cannot be µsed_ to act ~s c1 pass to.

 retirement v~hicles that violate· the Bankruptcy law. The IRS pa~sed ths: laws,

 ~l'.ld. the ~ou_rts, mu$t look 'to how the . IRS adjuticates these vehich\s. Wh~re
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the retirement plan is wron!l, as everybody concedes the, land contract is, in

most cases the IRS imposes and penalty ,a111d allows correction. The

judg,ment of the bankruptcy ~purt that the tht law is reserved for draftsman

errors (isn't this dr~fting by ·my attorney a draftsman e,rror as weH??} is

being appealed to .this C.ourt of Appeals. This narrow interpretation of the

l~w I$ being appealed. Indeed, the appellant now·expounds on his. beJief that

·th~ e:s$ence of this law is differentiating ·between ah hones.t aroci inadvertent

mistake, w~ich ev~ryon_e nQW agrees this land contact was (even though it

now appear~ ·to. halve. no legal standing as pointed out above) ,or a self

serving one, e.g~, an .aggressiV~ int~rpretation oflRS laws such as the .case

of Baumann. It· is a differentiatiQn betwten an error made, in good'faith' and

an ,sophisticated

 contraption. made in an attempt to. defraud investors , FaHtn·e. to familiJriz~

with the IR.$ Rules. wc3as blamed on passivity and ina¢tivfty: on part Qf the

~ppellant. Again, the number of transactions that were performed by the

appellanJ on his, <>wn,· recognJzance have.all been admitted to the exhibits : all

 nine transactions he did on his 9wn passed rru.aster. Surely the blissful

 i.gnorance and passive irnattE!ntion t~at tbe b~nkruptcy, c,om1.had .labeletf this

appellant is farther from 'th~ tn,atb ttB2u1 the fact tfllat thei error was

 imidvertenttmay be not much differentfrom a.draftsman error, br~naght about

by unjustified trust on legal ccn.msel.
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 To this: aJ)'pellant. The spirit' of the law Js opt Umi,ted to: a, .draftsman error,

something clerical( minute, a missing perio~, im;enseq~ential in .$0 far as the

•essence- of     the   retirement .investment      i~   conc:~rne,q.   The    iJ,n·row

interpretation by ·the bankruptcy court ignores the P!~in wording~ which

appe~r~ to pe consciou_sly comprehensive, and all inclusive and embr.aciog.




         A ·person'~ inter:est i-, any plan, pro·gram:, Instrument or devh;:e
di:tscr-ibed in $2329._66(~)(10):(g) int~rf!st in. any plan, pr()gram,, instrument, or
device shall be. considC:i!red ,xemp_t interest even if the plan, program~
instrument or dev.ice in questi~·m, ~ue to an error mad~ in good faith, ·tailed-to
satisfy any criteria -~pplicabl~-.                                  .,
The pro.per interpretation Qf this lc1w is what is brought to bear In this

hallowed Court ·of .Appeals., (once again in th, light of a lan,d. contract

document that has .no legal; standing. Indeed, 'this veoerabl~ court ~ho,uld go
Qeyond beJng_ a meJ"e, arbiter of procedural integrity and con~id.er why what

appe_ars to be a- p_urposefulll(' broad law be narrowly ·applied to merely

draftsmen erro~.




 Far from being a 'get-out~of..jail-fl"e,e car~ 1 that the trustee quotes from the

Bauman ca,e, or a 'b.l~ss prohibited transa_ctions by participants in' self

directed IRA's, the prescieoce of the drafters of thE?I Savings Ciause simply

recognizes the complexity of the, IRS Code$ ( on.e: of the.most cpmplex ill'the
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world). This appellant did no~ engage in thi~l px_ohiblted transacti,.m to go on:

and find a house to purchase and live in, going forward; .!. house that his

privileged IRA assets could purchase for him.




      Conclusion:




      This venerable Co:urt .·of Appeals should ndt act ii!S mere referee tQ the

rules of order that ·overwh~lmingly. ;seeks _tp just uphold procedural integrity

without regard to miscarriage ofjustice. There are major issues

of burden .shifting, anchoring •arg~a;neftts on instruments with no legar

·standing, pursuing amends and c;omp~nsati9p thr(>ugh anothtr ~·ourl,

limiting the. Savings Act to ·a draftsman error·instead ofwhat a.pp~ars to b_e a

rnc:,re expansive view. It should review this case de novo, arad make

de~isic,os while ·aiving the :appellant a wider leeway: than previous courts

have done.



Respectfully submitted by:




Appellant

 23-5134
                                  ..,..,   rue-u VtlJ.'+/LV   c,m:::~t:U UI/J.'+l,6'.U .L.L;'f,~;;;>::;>   uescMain
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                                                   AfPiN01)(                   e
                                           LAND CONTRACT
           f
    THIS. . . .                    denteredintoonthis 1sr ___d.ayof_Ja11uary_ _ ___,.....,2017
    by ai,,d between J0$eph F. J\liccio. hereinafter called Seller. anq JRV SEPIR.A; LLC a.1,1d/()f
    assig~ l1ereinafter called B-uyer: The Seller. for and in consideration of the sum of$:lQ4~Q0().00
    doUarsi,n hand paid by the Buyer, receipt ofwhicbjs hereby acknowledged. here~y sells t9 Buyer.
    hi$1I)~r l1~s Qr assignees. the pr®lises situatedirt 1he City of Columbus, County of Franklin,
    State ofOhio~ legc11ly descrjbe.q as:

    Street Address: 333.9 Daglow Road, Columb_.s, 011 43232 and consisting of House and.5 .. <fo \
    acres ofland upon the following TER...\.1S and CONDITIONS:

    '1. Perscmal Pro~rty: S.aid leas.e·shall include tlie followfag,perso~, property; Nqne.

    2: Tenn: The term hereof shalLcon11ne11¢e on the __1st__.day of_} anuary_______......, 2017, a11d
    continue for a period of lZ0 months thereafter;

    3., Payment: shall be $867~00 per month, plus the real estate taxes, payat>Je in advance; upon the
    first day of ~ell calendai- month to S.eller or his/h.er authorized agent at the, following address:

    Joseph, F. l\ficcio at: 3301 D~glow Road, Cofumi,us, OH 43232.

or ~t such other pla~es as may be. designated by Seller from time to tune. In tl1.e event P~YJ.nent i$
not paid within five (SJ clay~ t,lfl:er. dt1e da,te, Buyer agrees,to pay a late charge of$2S.()9 plus interest
at 6% per annum on the delinquent am:oupt •

 The payme11t of $8'66.67 pet month, breaks down as follows:, $_867 to.wards M9rtgage,
 $___584_towards Taxes. $_0:00_ _ _toWards Insurance. Buyer shall pay a,ll future
 tax increases

 4. Utilities: Buyershall·be responsible for the,payment of all utilities a,nd services..

 5. Use: The :pr~mises shall .be used as, a residence and for no. other purpose without prior written
 consent of Seller:                                                                     •

 6. Assigrunent and Subletting: Buyer may aS$ign this agreement or sublet any portion of the
 premises without prior written consent of the Seller.

7. Maintenance, RtaJair~; Or Alteratioll$: Buyer shall maintain the premises in a cl~a:n mid samtary
manner including ,all equipment, ~ppliances, nuniture and furnishings therein, am;i shall swrender
the same at temlination thereof: in as good col)dition ~ received, nonnal wear ai1d tear- excepted.
Buyer shall be responsible for dama,ges·caµsed .t:,yhi$1b~r negligence, and that of his/her family, or
invitees or guests. Buyer shall maintain any surroijndil)g grounds, including ·1awns and. shrubbery,
and keep the saine clear of rubbish. and weeds, ifsuch grow19s are part of tbe premises and are
excl4sively for use. Qf the Buyer.


                                                        l
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 8. Entry ~nd Inspecrk,n: Buyer ·shall pennit Seller or Seller's agents to enter the premises at
 reasonable times and upon rea$Onable notice for the purpose of inspecting th~ pretnises or for
 making necessary repairs..                           •                    •

 10. Poss~sion:. If Seller is unable to deliver pPSSe$Sion of tl1e premises at the commencen1e~t
 hereo:t: Seller shail not be liable for any damage· cause<;} thereby not shall this agreement ·be void
 or voidable, but Seller sl1all not be ltabJe for any rent until ppssession i$ delh;e,~. Buyer may
 tenninate this agreement if possession. is not delivered within :$0 days ofthtl CC)~encement of
 the term he,reof

  I l. SecuritfOp!ion_ Consideration: The security deposit of $0.00 s?8-ll secure the performan~ of
 the Buyer~~ •Obligaflons hereunder. Sellor may, but shall not be obbgated to,. apply aU or portions
 of said deposit on account of B1,1yer's obligati(.>ns hereunder~ Any balance remaining upon
 tennincidQ~ shall .be retmned to Buyer.                                 •
 12. .Oeposi~ Funds: Any returnable deposits •shall be refunded witbu;l fifte~ (15) days from the
 date posses(;ion is delivered to Seller or his/her authorized agent
              i
                                                                     •   .   .
                                                                                      •
              !
 l 3. Attorney Fees: The prevailing party shall pe entitled to all Posts incurred i11 connection with
.any legal a~tioJ1 b:rc,ught by either patty to enforce the term,s her~f or r¢1ating. to the demised
·premises; ~ch:idi,;ig reliSQ1}able attorneys' fees.

 14. Notices:1, Any notice which either party may or is t¢quired .to give• may be gi:ven by mailing the
 sallle, po$taiie prepaid, to Buyer e or at such other places as may be designated by tbe:parties from
 time to: timel
            . ·i
                  •                                                                   •

 lS. Heirs,  ~s~~     .S~ccessors: This conu-~t sllall ;include ~d ins~e lo .and, 'bind the heirs~
 executors, a{im1111strators, su¢eessors; and assigns ofthe respective parties hereto.
                  I                                                                 •

 16. Time~ Ti$$ offer shall terminate if not accepted beforeJhe 30th..                     day of_January_ __
 2017.

 17. Hokiin~lOvet~:A11y holdingover after expirati<>n of the tenn of this contraGt; with the co~nt
 of the Seller;!shall be construed as a month-to-month tenancy in . aC(:Otdance with thetenns hereo~
 as applicable,~

J8. Default: lfBuyer shall fail te> paypaymentswhei1 due or perfonn any term hereof~fter not less
than three (3) days written riotipe of sucb default given m the manner required by law, the Seller
at his/heropt,ion maytenninateall rights of the Buyer hereunder, unless Buyer, witQin said tiinf,
shall cure sttc;h default. If Buyer abandons or vacates tbe property while in default of payment of
r~11t, Seller ~ay co11sider any property left 011 prenµses to be abando.ned and may dispose of the
same in anyj manner ~llowed by law. In the event the lessor. reasonably believes that such
abandoned p~perty bas 110 value, it may he discarded,

19~ Right To bell: Seller warrants tQ Bu~r that Seller is the. legal owner of the premi~es Jtxid has:
the legal righf to $ell leased premises under the tenns and c◊nditions• of this agreement.
              I
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 [R.C. §2Ul3.02'(8J(2)]

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 CQuntyo( ·fr~,'-- J ss.

 On0£!h>~ . :l(} . 20 n,                                .· before-lne, the, undersign~ :tlo.tary
 public, pi'nally appeared declarant of tbe ·above Land Contract, and who has
 acknowled ed that (s)he executed the same for :tlte purposes expressed therein. I attest that
 the declar ,t appears to be of sound mind and not under Of'subject to duress, fraud or undue
 • fl            I


 Ill    ueJ10e                    ~~~~ ~
                                           Notary Public




 -~ .Instrumfnt Pr~ared By:
 ¥!cha~l P. ~1sko; Es~.
 Michael P. Wsko, Legal; LLC
 19 Nprth lligli Stt~
 Canal Winc~ter, OH 431 lO
 Pl.ione:_6114• _J4-9880




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 NOTARY hcKNoWLEDGMENT
 [RC. §21~3:.02(8:}(2)]
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 Cotmlyoft::c:i,,                   I $So
 On      ~~~1           20l1 _ _ _ _ _ _ __.. before mt; the undersigned notary
 public. p~rsonally . appeared declarant of th~ above Land _C()ntr-act, ~nd who _                                              has
 acknow1eclfed that (s)he executed the same for the pmposes expressed ther~m. I atte$t that
 the decl A appears to be of sound niind and nolunder or subjectto duress, fraud or un(lue
 influence.




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                                                      ~                  •     Life':im:eComrr:m1ss1on
 This Inst       t l>r~ared By:                                                   Secticr. 14?.03 R.<::.
 Michael P. Vi1sko, Esq.
 Michael P. \/4.sko, Legal, LLC
 19 North High Street •
 Canal
   . •. . Winch"5ter,
             . I • OH 43110
 PhQne: 6l 14-'834-9880




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     DATE           DOCUMENT ID         DESCRIPTION                                         FILING   EXPED    PENAL TY   CERT    COPY
     01/31/2017     201702601616        DOMESTIC FOR PROFIT LLC-ARTICLES OF                  99.00     0.00       0.00    0.00    0.00
                                        ORG(LCP)


                                                                    Receipt
                                                 This is not a bill. Please do not remit payment.



                   BROAD FINANCIAL
                   21 ROBERT PITT DRIVE
                   MONSEY, NY 10952




                                       ST A TE OF OHIO
                                                CERTIFICATE
                                          Ohio Secretary of State, Jon Husted
                                                                   3984050

                   It is hereby certified that the Secretary of State of Ohio has custody of the business records for

                                                            JRV SEPIRA LLC

                                    and, that said business records show the filing and recording of:
        Document(s)                                                                                           Document No(s):
        DOMESTIC FOR PROFIT LLC - ARTICLES OF ORG                                                             201702601616
                                                      Effective Date: 01/26/2017




                                                                       Witness my hand and the $eal of the
                                                                       Secretary .of State at Columbus, Ohio this
                                                                       31st day of January, AD. 20 i 7.

                    United States of America                           :~_jkt;/·
                           State of Ohio
                  Office of the Secretary of State                     Ohio Secretary of State
J\., IU ----.,;,, LU I / ULOU IO I 0
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                                       Form 533A Prescribed by:
                                       Ohio Secretary of State                                                 Date Electronically Filed: 1/26/2017
                                       JON HUSTED
                                        Ohio Secretary of State
                                       Central Ohio:.(614) 466-3910
                                       Toll Free: (877) SOS-FILE (767-3453}
                                       www.OhioSecretaryofState.gov
                                       Busserv@OhioSecretaryofState.gov


                                       Articles of Organization for a Domestic
                                              Limited Liability Company
                                                                     Filing Fee: $99
    CHECK ONLV ONE (1) BOX

    (1)   fRl Articles of Organization for Domestic                                        (2) 02Articles of Organization for Domestic
              For-Profit Limited Liability Company                                                Nonprofit Limited Liability Company
             (115-LCA)                                                                                (115-LCA)




    Name of Limited Liability Company (J_R_v_s_E_P~I_RA_L_L~C-·- - - · - - ~
                      Name must include one of the following words or abbreviations: "limited liability company;" "limited,• "LLC." "L.L.C.," "ltd., "or "ltd"



    Effective Date       1/2B/201?                    {The legal existence of the limited liability company begins upon the filing
     (Optional)                                       of the articles or on a later date specified that is not more than ninety days
                         mm/dd/yyyy                   after filing)


    This limited liability company shall exist for
     (Optional)                                             Period of Existence



    Purpose
     (Optional)




    **Note for Nonprofit LLCs
    The Secretary of State does not grant tax exempt status. Filing with our office is not sufficient to obtain state or federal tax
    exemptions. Contact the Ohio Department of Taxation and the Internal Revenue Service to ensure that the nonprofit
    limited liability company secures the proper state and federal tax exemptions. These agencies may require that a purpose
    clause be provided.
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                                      ORIGINAL APPOINTMENT OF AGENT
            The undersigned authorized member(s), manager(s) or representative(s) of


        IJRV SEPIRA LLC

                                               Name of Limited Liability Company

            hereby appoint the following to be Statutory Agent upon whom any process, notice or demand required
            or permitted by statute to be served upon the limited liability company may be served. The name and
            address of the agent is



        IJosE R. v1LLAVICENc10
         Name of Agent

        13339 DAGLOW RD
         Mailing Address

        l._c_o_Lu_M_s_u_s_·_ _ _ _ _ _ _ _ _ _ _ ____.!                             OH
         City                                                                      State           ZIP Code




                                         ACCEPTANCE OF APPOINTMENT

   The undersigned, . . . - - - - - - - - - - - - - - - - - - - - - - - , named herein as the statutory agent
                    !JOSE R. VILLAVICENCIO
                                      Statutory Agent Name
                  for
                      IJRV SEPIRA LLC
                                                    Name of Limited Liability Company

    hereby acknowledges and accepts the appointment of agent for said limited liability company

   Statutory Agent Signature . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,
                             'JOSE R. VILLAVICENCIO
                                      Individual Agent's Signature/ Signature on Behalf of Business Serving as Agent
J\., IU ----.,;,, £U 1 /U£0U 1010
            Case 2:19-bk-52861          Doc 157 Filed 06/24/24 Entered 07/18/24 16:46:51                        Desc Main
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   By signing and submitting this form to the Ohio Secretary of State, the undersigned hereby certifies that he or she
   has the requisite authority to execute this document.



   Required
   Articles and original
   appointmentof agent must           !RAVEN ANTHONY, ORGANIZER
   be signed by a member,              Signature
   manager or other
   representative.

   If authorized representative        By (if applicable)
   is an individual, then they
   must sign in the "signature"
   box and print their name
   in the "Print Name" box.
                                       Print Name
   If authorized representative
   is a business entity, not an
   individual, then please print
   the business name in the
   "signature" box, an                 SignatlJre
   authorized representative
   of the business entity
   must sign in the"By" box
   and print their name in the         By (if applicable}
   "Print Name" box.



                                       Print Name




                                       Signature



                                       By (if applicable)



                                       Print Name
6/23/24, 3:12 PM                                    Fwd: JRV Sepira LLC - joevillaoh@gmail.com - Gmail
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                                                Document       Page 21 of 21                                                                                                                                ... .'
                                                                                                                                                                                             ---~~      •   •   '"    R




                                          Please specify that you would like us to send your funds via wire,

                                          Please also advise us of the name of the Bank that is holding the LLC Bank Account

                                          Thank you,


                                          The Madison Trust Support Team
                                          Madison Trust Company
                                          IPJ 845,941.1000
                                          IFJ 845.947.1212
                                          IEJ ~P.oort@madisontrust.com

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                                          This small and any attachments are confidential and Intended for tha sole use of the me/plant. If you are not the Intended rec/plant, please notify Immediately Madison nvst Com1




                                          From: joeyillaoh@aol.com lmailto·joeyillaoh@aol.com]
                                          Sent: Friday, March 03, 20171:00 PM
                                          To: Support At Madison Trust <JillQP-QL!.@madisontrust.com>
                                          Subject: JRV Sepira LLC


                                          Routing no is 0440000024;
                                          Acct no. is 0189 3409 228
                                          Sent from AOL Mobile Mail




                                          (         Reply ) (               Forward)@




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